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                                                                                                United States District Court
                                                                                                  Southern District of Texas

                                                                                                     ENTERED
                                UNITED STATES DISTRICT COURT                                      December 19, 2016
                                 SOUTHERN DISTRICT OF TEXAS                                       David J. Bradley, Clerk
                                   CORPUS CHRISTI DIVISION

UNITED STATES OF AMERICA                                §
                                                        §
              Plaintiff/Respondent,                     §
VS.                                                     § CRIMINAL ACTION NO. 2:12-CR-418-4
                                                        §
JESUS GREGORIO LOPEZ; aka GOYO,                         §
                                                        §
              Defendant/Movant.                         §

                              MEMORANDUM OPINION & ORDER

          Defendant/Movant Jesus Gregorio Lopez (hereinafter “Movant,” “Lopez,” or

“Goyo”) filed a motion to vacate, set aside, or correct sentence pursuant to 28 U.S.C. § 2255

(D.E. 871) and brief in support (D.E. 872).1 The United States of America (the

“Government”) filed a motion for summary judgment (D.E. 880), to which Movant replied

(D.E. 881). For the reasons stated herein, the Government’s motion for summary judgment

is granted, and Movant’s § 2255 motion is denied.

I. Background2

          This case concerns a conspiracy to smuggle large quantities of marijuana from

Mexico into the United States, involving at least a dozen individuals, from 2003 to 2012. At

trial, the Government primarily relied on testimony from the following individuals, all of

whom admitted to being involved in the drug conspiracy: Jesus Marroquin; Ronny Rice;

Edward Mata; Richard Patton; Servando Guerra; Luis Andreas Longoria; Jose Maria


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         . All citations to the docket sheet refer to Criminal Case No. 2:12-418-4.
          2
         . The background is recited from the Fifth Circuit’s opinion in United States v. Lopez, 582 F. App’x 438,
440–41 (5th Cir. 2014).

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Carbajal, Jr.; Rene Salazar, Jr.; Jose Figueroa; and Adrian de la Garza. The Government

also offered testimony from numerous law enforcement officials involved in investigating

the conspiracy.

          Jose Maria Carbajal, Jr. (“Carbajal”) began trafficking marijuana in the mid-to-late

1980s. Initially, he carried 20-pound loads of marijuana in backpacks through Encino and

Falfurrias, Texas. Carbajal later met another supplier and began moving larger loads of

approximately 150 to 200 pounds. Carbajal and his associates, Edward Mata (“Mata”) and

Richard Patton (“Patton”), used ATVs and night-vision goggles to trespass through ranches

near the Falfurrias Border Patrol Station to smuggle the marijuana past the checkpoint.

          Sometime around 2005, Movant learned of Carbajal’s operation, and he approached

Carbajal to offer Carbajal the use of his ranch, Las Carolina Ranch (“Carolina Ranch”).

Before beginning their working relationship, Movant asked Carbajal to pass a test: he

wanted Carbajal to move some marijuana belonging to Damien Solis, a drug trafficker,

through Movant’s ranch past the Falfurrias Border Patrol Station. Carbajal passed the test,

and he introduced Jesus Marroquin (“Marroquin”) to Movant. Carbajal told Movant that he

and Marroquin would begin using Carolina Ranch. For the next seven years, Marroquin and

Carbajal moved loads of marijuana through ranches including Carolina Ranch, transporting

more than 25,000 pounds of marijuana into the United States.

          In 2006, Movant asked Carbajal to come to a meeting with Robert Garza, who had

been trafficking in marijuana since at least 2004, using an employee, Ronny Rice (“Rice”),

to drive shipments into the United States. Soon after the meeting between Movant, Carbajal,

and Garza, Garza’s brother Alex began delivering shipments to Carolina Ranch. According

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to Carbajal’s trial testimony, “[t]hat’s where the big quantities started coming in.” The

Garzas and other distributors dropped off 500-to-1,500-pound loads of marijuana at

Carolina Ranch. Phone records revealed that Movant was in frequent contact with Carbajal

and Robert Garza. As the operation grew, Movant decided to build an outhouse with a false

bottom on his ranch for the smugglers to conceal the marijuana. The outhouse could hold

between 1,000 and 1,500 pounds of marijuana.

          While investigating the conspiracy, the Government seized marijuana on a number of

occasions between 2003 and 2012. They recovered marijuana from a number of Carbajal’s

employees, Rice, and from Carbajal and Garza themselves.

          Carbajal was arrested in early 2011. Law enforcement officials had begun to suspect

Movant’s involvement in the conspiracy, and they interviewed him after Carbajal was

arrested. They later returned to Carolina Ranch to execute a search warrant, and they

discovered an illegal alien, Marvin Ruiz (“Ruiz”), whom Movant employed as a ranch hand.

Movant was charged with harboring an illegal alien. When the Government interviewed

Ruiz, he told them that he did not have any knowledge of illegal activity at the ranch. The

Parties disagree as to when the Government informed Movant’s counsel of Ruiz’s

statement. Before Movant eventually pled guilty in the alien harboring case in late 2011, he

agreed to allow the Government to release Ruiz from custody and remove him from the

United States.

          In May 2012, Movant, Ramon Zamora (“Zamora”), Garza, and nine coconspirators

were indicted for conspiracy with intent to distribute more than 1,000 kg of marijuana in

violation of 21 U.S.C. §§ 841(a)(1), 841(b)(1)(A), and 846. Movant, Zamora, and Garza

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went to trial, and the jury found all three guilty. Movant was represented by Alfonso

Ricardo Flores (“Trial Counsel”) at trial and sentencing. Movant was sentenced to 292

months’ imprisonment, to be followed by 5 years’ supervised release. He appealed, and his

conviction and sentence were affirmed on September 24, 2014. Movant filed the instant §

2255 motion on December 22, 2015. It is timely.

II. Movant’s Claims

          Movant’s § 2255 motion raises the following claims:

          A. Whether Movant is entitled to a new trial where the Government’s star
             witness was influenced to exaggeration at trial by the expectation of a light
             sentence.

          B. Whether the Government committed a Brady violation when it failed to
             timely disclose the fact that Movant’s ranch hand, Marvin Ruiz, had made
             a statement to authorities claiming no knowledge of anything illegal on
             Carolina Ranch.

          C. Whether Trial Counsel was ineffective in failing to assert a Brady claim in
             the district court and seek an immediate mistrial or file a motion for new
             trial.

          D. Whether, in the alternative, Trial Counsel was ineffective in failing to
             oppose Ruiz’s transfer to ICE custody and deportation without preserving
             his testimony by deposition.

          E. Whether Trial Counsel was ineffective in failing to take appropriate steps
             to exclude evidence detrimental to the defense from the jury’s
             consideration and otherwise preserve evidentiary error for appellate
             review.

          F. Whether Trial Counsel was ineffective in preparing for and presenting
             evidence to challenge the notice of criminal forfeiture regarding Carolina
             Ranch contained in the indictment.


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          G. Whether Trial Counsel was ineffective in failing to argue that the
             recommended Sentencing Guideline range was greater than necessary to
             serve the purposes of incarceration under 18 U.S.C. § 3553.

III. Legal Standard

          There are four cognizable grounds upon which a federal prisoner may move to

vacate, set aside, or correct his sentence: (1) constitutional issues, (2) challenges to the

district court’s jurisdiction to impose the sentence, (3) challenges to the length of a sentence

in excess of the statutory maximum, and (4) claims that the sentence is otherwise subject to

collateral attack. 28 U.S.C. § 2255; United States v. Placente, 81 F.3d 555, 558 (5th Cir.

1996). “Relief under 28 U.S.C. § 2255 is reserved for transgressions of constitutional rights

and for a narrow range of injuries that could not have been raised on direct appeal and

would, if condoned, result in a complete miscarriage of justice.” United States v. Vaughn,

955 F.2d 367, 368 (5th Cir. 1992).

III. Analysis

  A. Whether Movant is entitled to a new trial based on Carbajal’s “exaggerated”
     testimony

          Movant claims his conviction is unconstitutional because it was partially based on

Carbajal’s “exaggerated” testimony due to his expectation of a lighter sentence. In support

of this claim, Movant has offered the affidavit of Carbajal, wherein he states that “there was

a lot that Goyo [Movant] didn’t know about that I did on his property. I never told Goyo




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what all I was doing on the property . . . Goyo was not involved in everything.” Carbajal

Aff., D.E. 872-1, pp. 55–56.3

          The Due Process Clause of the Fourteenth Amendment forbids the government from

knowingly using perjured testimony. Knox v. Johnson, 224 F.3d 470, 477 (5th Cir. 2000)

(citing Giglio v. United States, 405 U.S. 150, 153 (1972)). To obtain relief on grounds that

the government relied on perjured testimony, a defendant must show that: (1) a witness for

the government testified falsely; (2) such testimony was material; and (3) the prosecution

knew that the testimony was false. Id.

          Carbajal pled guilty to the conspiracy and testified at trial. Specifically, Carbajal

testified that Movant approached him outside a convenience store and offered to allow him

to use Carolina Ranch to help transport marijuana past the Falfurrias Border Patrol

checkpoint. When Carbajal got to Carolina Ranch, there was already a 200-pound load of

marijuana there, which he smuggled to Falfurrias as a test. Over time, Carbajal learned that

Movant allowed other people and groups to use Carolina Ranch for marijuana smuggling,

besides just his crew. At one point, Movant arranged a meeting between Garza, Carbajal,

and himself, after which the smuggling business expanded significantly. Carbajal paid

Movant roughly $3,000 cash per load, either hand-to-hand or via a PVC pipe buried in the

ground. In the beginning, Carbajal and Movant would talk on the phone after each load, but

after a while, Carbajal would provide Movant with his cut without communicating about



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           . Movant also cites Carbajal’s statements that “Scotty Patton and Edward Mata would go to Goyo’s without
Goyo or me knowing it,” and “Scotty, Edward & Luis [Longoria] were using Goyo’s ranch without permission.” Id.
These statements are hearsay and not based on personal knowledge, as Carbajal further states that he found this out
because he was having an affair with Edward Mata’s wife, and she would tell him when Mata was at Carolina Ranch.
Id. p. 55.
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every load. Finally, Carbajal testified that Movant told him he built an outhouse as a stash

house for them to store marijuana.

          Movant does not claim that Carbajal’s trial testimony was perjured, but rather that it

was “exaggerated.” More importantly, Carbajal’s affidavit does not, as Movant claims,

confirm that Carbajal “falsely implicated [Movant] in his drug conspiracy in order to

manipulate the Government, protect himself, and get a shorter sentence.” D.E. 872, p. 52.

Carbajal’s affidavit testimony does not disavow his trial testimony or state that he falsely

implicated Movant. Carbajal does not say that Movant never approached him about using

Carolina Ranch, that he never paid Movant to allow him to store marijuana on Carolina

Ranch, or that Movant was not involved in the conspiracy; instead, Carbajal merely states

that there was “a lot” that Movant didn’t know about because he never told Movant “what

all he was doing” on the property, and Movant was not involved in “everything.” This is not

a recantation of Carbajal’s trial testimony. Finally, Movant fails to allege that the

Government used Carbajal’s trial testimony knowing it was false. Accordingly, Movant’s

claim that he is entitled to a new trial based on Carbajal’s testimony must fail.

   B. Whether the Government committed a Brady violation

          Movant alleges a Brady violation, claiming his conviction was unconstitutionally

obtained because the prosecution failed to disclose evidence favorable to him. See Brady v.

Maryland, 373 U.S. 83 (1963). Specifically, Movant complains that the Government

violated Brady by not timely disclosing the statement by Movant’s ranch hand, Ruiz, that he

was not aware of any illegal activity on Carolina Ranch. According to Movant, had Ruiz



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been available to corroborate Movant’s testimony at trial, Movant would not have been

convicted.

          Under Brady, “the suppression by the prosecution of evidence favorable to an

accused upon request violates due process where the evidence is material either to guilt or to

punishment, irrespective of the good faith or bad faith of the prosecution.” Brady, 373 U.S.

at 87. “[T]o establish a Brady violation, a defendant must make the following showing: ‘The

evidence at issue must be favorable to the accused, either because it is exculpatory, or

because it is impeaching; that evidence must have been suppressed by the State, either

willfully or inadvertently; and prejudice must have ensued.’” Powell v. Quarterman, 536

F.3d 325, 335 (5th Cir. 2008) (quoting Strickler v. Greene, 527 U.S. 263, 281–82 (1999)).

Evidence is material for the purposes of Brady “only if there is a reasonable probability that,

had the evidence been disclosed to the defense, the result of the proceeding would have been

different,” meaning the probability is “sufficient to undermine confidence in the outcome.”

United States v. Bagley, 473 U.S. 667, 682 (1985).

          Here, the evidence in question is Ruiz’s statement to Agent Gamboa that he was not

aware of any drug trafficking going on at Carolina Ranch. Assuming this statement was

favorable to Movant, the Government disclosed it to attorneys Singleterry, Martinez, and

Flores (Trial Counsel) almost a year before Movant’s trial in his marijuana case, and before

his stipulation to release Ruiz in his alien harboring case. During the final pretrial

conference in Movant’s drug trafficking case, Trial Counsel and AUSA Hampton both told

the Court that AUSA Muschenheim had informed Movant’s counsel of Ruiz’s statement at

the time of the October 21, 2011 arraignment/status conference in Movant’s alien harboring

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case.4 Movant argues that the statement was not disclosed because it is not recorded in the

hearing transcript; however, the hearing included a two-hour break after Movant’s

arraignment so that defense counsel could confer with AUSA Muschenheim before the

status conference concerning Ruiz. D.E. 43, Hrg. Tr. at 8:17-25, 11:7-8. Movant further

argues that Ruiz’s statement was not disclosed because it was not included in the material

witness affidavit that was entered into the record as stipulated testimony in Movant’s alien

harboring case. As Agent Gamboa explained, “[T]hat statement was specifically for the

harboring charge.” D.E. 744, Trial Tr. at 310:14-15. The fact that Ruiz claimed he was

unaware of any drug trafficking activity at Carolina Ranch was not relevant to the alien

harboring charge.

          The Parties discussed Ruiz’s statement extensively during the October 15, 2012 pre-

trial conference, when the Government sought to prevent defense counsel from arguing that

Ruiz could not testify because the Government had deported him. At that time, Trial

Counsel stated that Movant’s defense was that Ruiz was in fact a coconspirator in the drug

trafficking operation.5 This would have rendered false Ruiz’s statement that he was unaware

of any illegal activity at Carolina Ranch, but the Government nonetheless agreed to have


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          . D.E. 735, Tr. at 10:22–11:5 (Hampton: “Basically, he said, he knew—he had no knowledge of that, this
alien. There was a hearing held—I think it was before Judge Owsley. Mr. [Muschenheim] was the prosecutor on the
case at that time—to release the material witness. It’s my understanding there were several conversations. There were
motions filed regarding whether or not that witness should be kept here because Mr. Lopez was facing these current
charges.”), Tr. at 12:2-7 (Trial Counsel: “When we came on the behalf of Mr. Lopez, he just happened to have his
hearing at the same time that the alien’s expedited departure hearing was had. Jon Mushenheim advised us at that time
that the alien had given an exculpatory statement. Mr. Gamboa has forgotten about that statement or has denied that
statement existed.”).
          5
           . D.E. 744, Trial Tr. at 317:8-14 (“Mr. Flores: Your Honor, part of the defense—and, which I’ve said openly,
is that the—one of main actors on the ranch that participated in the conspiracy was Marvin. And not necessarily Goyo.
Instead, saying we’ve been able to determine that Marvin did participate in the conspiracy . . . .”); D.E. 735, Trial Tr. at
11:23-25 (“[W]e’ve been able to determine since then that the actual alien that was released was a coconspirator . . . .”).
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Agent Gamboa testify as to the statement during trial—which he did—so the statement was

never suppressed. See D.E. 744, Trial Tr. at 310:17-19, 316:8-9, 321:20-25. Accordingly,

there was no Brady violation.

   C. Ineffective Assistance of Counsel Claims

          1. Ineffective Assistance of Counsel Standard

          An ineffective assistance claim presented in a § 2255 motion is properly analyzed

under the two-prong analysis set forth in Strickland v. Washington, 466 U.S. 668 (1984).

United States v. Willis, 273 F.3d 592, 598 (5th Cir. 2001). To prevail on a claim of

ineffective assistance of counsel, a movant must demonstrate that his counsel’s performance

was both deficient and prejudicial. Id. This means that a movant must show that counsel’s

performance was outside the broad range of what is considered reasonable assistance and

that this deficient performance led to an unfair and unreliable conviction and sentence.

United States v. Dovalina, 262 F.3d 472, 474–75 (5th Cir. 2001). If the movant fails to

prove one prong, it is not necessary to analyze the other. Armstead v. Scott, 37 F.3d 202,

210 (5th Cir. 1994) (“A court need not address both components of the inquiry if the

defendant makes an insufficient showing on one”); Carter v. Johnson, 131 F.3d 452, 463

(5th Cir. 1997) (“Failure to prove either deficient performance or actual prejudice is fatal to

an ineffective assistance claim.”). To show prejudice in the sentencing context, a movant

must show that counsel’s deficient performance resulted in any amount of prison time above

that the petitioner would have received if the forfeited complaint had been advanced at trial

or on appeal. United States v. Grammas, 376 F.3d 433, 438–39 (5th Cir. 2004).



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          2. Analysis

              a. Failure to assert a Brady claim and seek an immediate mistrial or file a
                 motion for new trial

          Movant claims that Trial Counsel was ineffective for failing to assert a Brady

violation and move for a mistrial and/or new trial on this ground. As set forth in Part III.B,

supra, there was no Brady violation. Thus, it would have been frivolous for Trial Counsel to

have asserted a Brady claim and moved for a mistrial and/or a new trial. Trial Counsel was

not ineffective on this ground.

              b. Failure to oppose Ruiz’s removal without preserving his testimony by
                 deposition

          Movant claims that Trial Counsel should have either opposed Ruiz’s deportation in

the alien harboring case or moved to depose Ruiz before he was deported.6



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           . As evidence of how Ruiz would have testified at trial, Movant has submitted the affidavit of Ruiz, who is
currently in Guatemala. Ruiz Aff., D.E. 872-1, pp. 60–62. Because there was no Brady violation, and because Trial
Counsel was not ineffective for failing to oppose Ruiz’s removal without preserving his testimony, the Court need not
address the substance of Ruiz’s affidavit. However, the Court notes that there is not a reasonable probability that, had
this testimony been presented at trial, the result of the proceeding would have been different. Trial Counsel previously
represented to this Court that Ruiz was a coconspirator, and he elicited trial testimony from Agent Gamboa that Ruiz
was involved in the conspiracy, but there was insufficient information to indict him. D.E. 744, Trial Tr. at 320:25–
321:6. Movant also argued on appeal that “several witnesses pointed to Ruiz’s role in the conspiracy.” Lopez, 582 Fed.
App’x at 449.
          Movant would now have the Court believe that Ruiz, like Movant himself, was an innocent bystander. In his
affidavit, Ruiz states that he never saw marijuana or any other illegal drug come onto Carolina Ranch; there was no pipe
where money would be placed for Movant to retrieve; when Movant was at the ranch, he and Ruiz were together at all
times except for when they slept; Movant did not know that Carbajal was storing or transporting anything other than
hay, and to the extent Carbajal testified that Lopez was involved in transporting marijuana, he was lying. Ruiz Aff., p.
61. The Fifth Circuit summarized the evidence against Movant as follows: “Carbajal testified that Lopez approached
him and offered to allow Carbajal to use his ranch to help transport the drugs past the border-patrol station. Carbajal
also testified that Lopez arranged a meeting between the two of them and Garza, and that after that meeting, the
smuggling business expanded significantly. The jury also heard testimony from a number of other witnesses describing
Lopez’s involvement in the smuggling conspiracy. The coconspirators testified that they told Lopez they were going to
drop marijuana off at his ranch, that Lopez was present during the loading and unloading of the marijuana, and that they
witnessed Lopez and Carbajal meeting. Witnesses also told the jury that Lopez was present while loads of marijuana
were being moved.” Lopez, 582 Fed. App’x at 445. As the Government aptly argues, given the evidence of Movant’s
involvement in the conspiracy that was developed during trial from multiple witnesses and coconspirators, the
testimony of a single witness—who himself was suspected of being involved in the conspiracy by helping to build a
stash outhouse—disavowing knowledge of any illegal activities would not have affected the jury’s verdict.
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          Trial Counsel did not enter a notice of appearance as co-counsel in Movant’s alien

harboring case until November 29, 2011—after the immigration judge had already ordered

Ruiz deported. The lead counsel in the alien harboring case was Attorney Singleterry, who

represented Movant in the October 21, 2011 status conference during which Movant agreed

to a stipulation of Ruiz’s statements and did not oppose Ruiz’s deportation. Trial Counsel

did not have the authority to act on Movant’s behalf while Movant was already represented

by other counsel. Movant was indicted in the drug trafficking case on May 23, 2012, and

Trial Counsel filed a notice of appearance in that case on June 12, 2012. As the Government

correctly points out, it is hardly logical that Trial Counsel rendered ineffective assistance in

the 2012 drug trafficking case before Movant was notified that the Government would seek

an indictment, and while Movant was already represented by other counsel in the alien

harboring case. Trial Counsel was not ineffective on this ground.

             c. Failure to exclude detrimental evidence and/or preserve evidentiary error
                for appellate review

          Movant next claims that Trial Counsel was ineffective for failing to object to hearsay

and speculative testimony presented by the Government and failing to preserve these

objections for appeal. According to Movant, the Government’s witnesses merely “thought,”

“assumed,” or “believed” that Movant was involved in the drug trafficking conspiracy and

knew what was going on, but Trial Counsel only raised a total of five evidentiary objections

during six days of testimony. As a result, the jury convicted Movant on inadmissible

evidence, he was unable to raise any evidentiary issues on appeal, and the Fifth Circuit was




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permitted to consider evidence that should have been excluded as legally sufficient to

support his conviction.

          Movant mostly complains that Trial Counsel should have objected to Carbajal’s

“speculative” testimony that he “guessed” Movant found out he was a drug courier and was

offering to assist in the drug trafficking operation, when Movant was only offering to

provide Carbajal with a place to store some hay. At trial, Carbajal explained that he guessed

how Movant found out that he was a drug courier—from Solis, who was at Carolina Ranch

when Carbajal met with Movant to discuss whether Carbajal could transport 200 pounds of

marijuana that Solis had already stored at the ranch. D.E. 743, Tr. at 20:6–23:10. This

testimony is not speculative, and Trial Counsel was not deficient for not objecting to it.

          Movant further complains that the remaining co-conspirators who testified against

him only “thought,” “assumed,” or “believed” that he was involved in the drug conspiracy,

and Trial Counsel should have objected to their testimony. Specifically, Movant complains

that Marroquin testified, “I just think [Movant] was in agreement because that’s why I was

taken there so that I could go in.” However, Marroquin also testified that at this initial

meeting with Movant, he was introduced to Movant as an individual who was going to drop

off the “marijuana”—not hay—before it was picked up for further transportation by

Carbajal. D.E. 738, Trial Tr. at 77:24–78:17. Movant also complains of Patton’s testimony

that “I wouldn’t tell him what I was doing, I just assumed he knew.” Patton further testified

that he had borrowed tarps, plastic, wire, and/or rope from Movant a couple of times to

cover the marijuana; he assumed Movant knew what he was doing because he had been

there so many times; he had asked Movant whether he could spend a night at Carolina

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Ranch because law enforcement was nearby; and Movant would ask him how his trip went

the night before. D.E. 741, Trial Tr. at 141:4–145:16. Finally, Longoria’s testimony that

Movant said “nothing” to him was preceded by testimony that Movant told him and

Carbajal that he had built an outhouse as a stash house for them if they needed another one,

and that Longoria had personally left money for Movant in the buried PVC pipe. D.E. 742,

Trial Tr. at pp. 110:14–111:4, 112:12–113:24. Taken in context, this testimony was not

speculative, and Trial Counsel was not ineffective for failing to object to it. The remaining

statements about which Movant complains were elicited during cross-examination by Trial

Counsel to show Movant’s lack of personal involvement and were not objectionable.

          Finally, Movant claims that because there was insufficient evidence linking him to

the conspiracy, Trial Counsel should have objected to any out-of-court statements by

Carbajal implicating Movant in the conspiracy and should have moved for a James7 hearing

to determine their admissibility. “James requires the trial judge, upon proper motion, to find

whether a preponderance of the independent evidence shows that a conspiracy existed, that

the defendant and declarant were members of the conspiracy, and that the statement was

made during and in furtherance of the conspiracy.” United States v. Nichols, 695 F.2d 86,

90–91 (5th Cir. 1982). As set forth above, Carbajal’s in-court statements linking Movant to

the conspiracy were not speculative. Moreover, during the first day of the trial, Marroquin

testified to Movant’s involvement in the conspiracy. Trial Counsel objected to hearsay, but

the objection was overruled because Marroquin’s testimony was offered as statements of co-

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          . United States v. James, 590 F.2d 575 (5th Cir. 1979) (en banc). “The purpose of a James hearing, which
must be held out of the presence of the jury, is to determine whether an extra-judicial statement by one alleged
coconspirator may be used in evidence against another alleged coconspirator.” United States v. Perry, 624 F.2d 29, 29
n.1. (5th Cir. 1980).
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conspirators in furtherance of conspiracy. D.E. 738, Trial Tr. at 77:13-22. Other co-

conspirators also implicated Movant in the conspiracy based on their own interactions with

him, beyond what Carbajal told them. The Fifth Circuit’s “review of the record

demonstrate[d] that there was more than sufficient evidence” of Movant’s involvement in

the conspiracy. Lopez, 582 Fed. App’x at 445. Accordingly, Trial Counsel was not

ineffective for failing to object to Carbajal’s out-of-court statements made in furtherance of

the conspiracy or failing to move for a James hearing. Movant is not entitled to relief on this

issue.

             d. Failure to challenge the notice of criminal forfeiture contained in the
                indictment

          Movant’s next claim pertains to the criminal forfeiture of Carolina Ranch. Movant

claims the ranch was actually the property of his wife, who had to hire her own attorney to

recover the property due to Trial Counsel’s ineffectiveness in failing to adequately prepare

for and present evidence to challenge the notice of forfeiture before the jury.

          Movant’s wife—who appears to be the aggrieved party—has no standing under §

2255. Moreover, the Government filed an agreed motion to vacate the preliminary order of

forfeiture on January 15, 2014, which the Court granted. D.E. 796, 797. It is unclear what

harm Movant suffered, or what relief he seeks, as the Government has released its lis

pendens against Carolina Ranch. Accordingly, this claim is denied.

             e. Failure to challenge the recommended Sentencing Guideline range

          Finally, Movant claims that Trial Counsel should have argued for a downward

variance under 18 U.S.C. § 3553. Had he done so, Movant argues, there is a reasonable

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probability that the Court would have sentenced Movant to a below-guideline sentence,

given the nature of the offense and his employment history, advanced age, and minimal

criminal history.

          Before sentencing, Probation prepared Movant’s Presentence Investigation Report

(PSR), which set forth in detail the specific offense characteristics and Movant’s personal

characteristics, including his criminal history, employment history, age, etc. D.E. 530. His

base offense level, based on 30,000 kilograms of marijuana, was 38, and he received a two-

level increase pursuant to U.S.S.G. § 2D1.1(b)(12) because he maintained a premises for the

purpose of distributing a controlled substance. Movant’s only criminal history point was for

his 2011 conviction for alien harboring, resulting in a criminal history category of I. His

advisory guideline range was 292 to 365 months’ imprisonment. Trial counsel lodged a

number of objections to the PSR.

          At sentencing, the Court heard arguments from both sides. The Government sought a

sentence at the highest end of the advisory guidelines, while Trial Counsel sought the lowest

possible sentence. Movant maintained his innocence and refused to make a statement in

mitigation. The Court sentenced Movant to 292 months, the lowest end of the guidelines. In

imposing this sentence, the Court stated that it had considered the guidelines and the

sentencing factors under 18 U.S.C. §3353, and it found that the sentence was sufficient but

not greater than necessary and reflected the seriousness of the offense. The Court noted that

this was a significant amount of time given Movant’s minimal criminal history. This was

due to the seriousness of the offense—the massive quantity of drugs involved in the

conspiracy drove up Movant’s offense level, which yielded a high advisory guideline range.

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          Movant’s 292-month sentence was later reduced to 235 months under 18 U.S.C. §

3582 and Amendment 782 to the Sentencing Guidelines. Movant states that his sentence

could have been further reduced under Amendment 782 had Trial Counsel argued for a

downward variance at sentencing, citing U.S.S.G. § 1B1.10(b)(2) for the proposition that a

“new sentence may not be below [] the amended guideline range unless [the] old sentence

was below the original guidelines range.” D.E. 872, p. 53. Movant is mistaken. A court may

only reduce a sentence below the amended guideline range if the original downward

departure was “pursuant to a government motion to reflect his substantial assistance to

authorities.” United States v. Ramirez, 631 F. App’x 269, 269–270 (5th Cir. 2016) (citing

U.S.S.G. § 1B1.10(b)(2)(A), (B), comment. (n.1(A))). The Court could not have reduced

Movant’s sentence any lower than 235 months under Amendment 782.

          On this record, Movant cannot demonstrate any ineffectiveness or prejudice arising

from Trial Counsel’s legal assistance at sentencing.

IV. EVIDENTIARY HEARING

      A hearing is not required to dispose of a § 2255 petition if “‘the motion, files, and

record of the case conclusively show that no relief is appropriate.’” United States v.

Samuels, 59 F.3d 526, 530 (5th Cir.1995) (quoting United States v. Santora, 711 F.2d 41, 42

(5th Cir. 1983)); see also Randle v. Scott, 45 F.3d 221, 226 (5th Cir.1995) (citing United

States v. Smith, 915 F.2d 959, 964 (5th Cir. 1990)) (concluding that if the record is adequate

to fairly dispose of the petition, no hearing is required). No evidentiary hearing is required

in this case.



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V. CERTIFICATE OF APPEALABILITY

          An appeal may not be taken to the court of appeals from a final order in a habeas

corpus proceeding “unless a circuit justice or judge issues a certificate of appealability.” 28

U.S.C. § 2253(c) (1)(A). Although Movant has not yet filed a notice of appeal, this Court

nonetheless addresses whether he would be entitled to a certificate of appealability (COA).

See Alexander v. Johnson, 211 F.3d 895, 898 (5th Cir. 2000) (a district court may sua sponte

rule on a COA because “the district court that denies a petitioner relief is in the best position

to determine whether the petitioner has made a substantial showing of a denial of a

constitutional right on the issues before that court. Further briefing and argument on the

very issues the court has just ruled on would be repetitious.”).

          A certificate of appealability (COA) “may issue . . . only if the applicant has made a

substantial showing of the denial of a constitutional right.” 28 U.S.C. § 2253(c)(2). “The

COA determination under § 2253(c) requires an overview of the claims in the habeas

petition and a general assessment of their merits.” Miller-El v. Cockrell, 537 U.S. 322, 336

(2003). To warrant a grant of the certificate as to claims denied on their merits, “[t]he

petitioner must demonstrate that reasonable jurists would find the district court’s assessment

of the constitutional claims debatable or wrong.” Slack v. McDaniel, 529 U.S. 473, 484

(2000). This standard requires a § 2255 movant to demonstrate that reasonable jurists could

debate whether the motion should have been resolved differently, or that the issues

presented deserved encouragement to proceed further. United States v. Jones, 287 F.3d 325,

329 (5th Cir. 2002) (relying upon Slack, 529 U.S. at 483–84).



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          Based on the above standards, the Court concludes that Movant is not entitled to a

COA—that is, reasonable jurists could not debate the Court’s resolution of his claims.

VI. Conclusion

          For the foregoing reasons, the Government’s motion for summary judgment (D.E.

880) is GRANTED, and Movant’s motion to vacate, set aside, or correct sentence pursuant

to 28 U.S.C. § 2255 (D.E. 871) is DENIED. Additionally, Movant is DENIED a Certificate

of Appealability.

          ORDERED this 19th day of December, 2016.

                                              ___________________________________
                                              NELVA GONZALES RAMOS
                                              UNITED STATES DISTRICT JUDGE




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